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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Seaborne Virgin Islands, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  2850 Greene Street
                                  Hollywood, FL 33020
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Broward                                                       Location of principal assets, if different from principal
                                  County                                                        place of business
                                                                                                1210 Watergut Christiansted, VI 00820
                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.seaborneairlines.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check
     the first sub-box. A debtor as
                                        Chapter 11. Check all that apply:
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




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          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      Silver Airways LLC                                           Relationship               Affiliate
                                                                Southern District of
                                                    District    Florida                     When      12/30/24               Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors                           50-99                                          5001-10,000                                50,001-100,000
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion


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         Name


16. Estimated liabilities     $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                              $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                              $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                              $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 30, 2024
                                                  MM / DD / YYYY


                             X /s/ Steven A. Rossum                                                       Steven A. Rossum
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X /s/ Brian P. Hall                                                           Date December 30, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Brian P. Hall
                                 Printed name

                                 Smith, Gambrell & Russell, LLP
                                 Firm name

                                 1105 W. Peachtree St. NE
                                 Suite 1000
                                 Atlanta, GA 30309
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     404-815-3537                  Email address      bhall@sgrlaw.com

                                 0070051 FL
                                 Bar number and State




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                                                SEABORNE VIRGIN ISLANDS, INC.

                              WRITTEN CONSENT IN LIEU OF SPECIAL MEETING OF
                                        THE BOARD OF DIRECTORS

                                                        December 29, 2024

                    Pursuant to Article III, Section 7(b) of the Bylaws of Seaborne Virgin Islands, Inc., a
            U.S. Virgin Islands corporation (the “Company”), and V.I. Code tit. 13, § 67b (2019), the
            undersigned, being all of the members of the Board of Directors of the Company, hereby adopt,
            approve, authorize, ratify, and take the following actions by this consent in lieu of a special meeting
            of the directors of the Company:

                    Whereas, the Board of Directors, with the advice and counsel of its attorneys and other
            professional advisors, has fully considered the Company’s need for financial restructuring and the
            alternatives available to it in that regard;

                     Whereas, upon such full consideration the Board of Directors has concluded that it is in
            the best interests of the Company to authorize the Company to seek the protection of chapter 11
            of title 11 of the United States Code, as amended (the “Bankruptcy Code” or the “Code”);

                   Whereas, the Board of Directors accordingly believes that it is in the best interests of the
            Company to approve the Company’s commencement of a case under chapter 11 of the Code as
            expeditiously as possible and to take any and all actions necessary and appropriate to effect the
            same;

                   Be it resolved, that the Chief Executive Officer and any other officer of the Company be,
            and they hereby are, authorized and directed to take all actions as they deem necessary and
            appropriate to commence a case concerning the Company under chapter 11 of the Code, including
            providing for the Company to file a petition under said chapter 11 in the United States Bankruptcy
            Court for the Southern District of Florida;

                    Be it further resolved, that the Company retain the law firm Smith, Gambrell & Russell,
            LLP to represent the Company in, and to serve as its counsel in connection with the preparation,
            commencement, and administration of, said case under chapter 11 of the Code, upon such terms
            as are determined reasonable and appropriate by the Chief Executive Officer or other officers of
            the Company and are obtainable by negotiation with said firm;

                    Be it further resolved, that the Company provide to said law firm a deposit to secure its
            obligation to pay the fees and expenses the Company shall incur to such firm in connection with
            the engagement authorized by these resolutions, and to make additions to such deposit from time
            to time, in such amounts as may be required by said firm and shall be determined to be reasonable
            and appropriate by the Chief Executive Officer or any other officer of the Company,

                   Be it further resolved, that the Company engage such other professionals, with the
            approval of the bankruptcy court, as the Chief Executive Officer or other officers determine are
            necessary for the efficient and successful administration of its case under chapter 11 of the Code,
            upon such terms as are determined reasonable and appropriate by the Chief Executive Officer or
                                                                                                     SGR/72255548.1
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            other Responsible Officers of the Company and are obtainable by negotiation with said
            professionals;

                    Be it further resolved, that the Chief Executive Officer and each other officer of the
            Company be, and they hereby are, authorized and directed, from time to time, to sign such
            pleadings, lists, notices, and other agreements, instruments and documents, including a petition,
            schedules, affidavits, and verifications, and any amendments, modifications, or supplements
            thereto, and to do such other acts and things, as the Chief Executive Officer or such other officer
            deems necessary or appropriate for the purpose of commencing and proceeding with a chapter 11
            case concerning the company or otherwise fulfilling the intentions of the foregoing resolutions;

                    Be if further resolved, that all documents heretofore signed and all actions heretofore
            taken in furtherance of the transactions authorized by the foregoing resolutions are hereby ratified,
            approved, and declared binding on the Company;

                   Be it further resolved, that that Secretary or any Assistant Secretary of the Company is
            hereby authorized and directed to certify these resolutions and that they have been validly adopted
            by the Company by written consent as authorized by the Bylaws of the Company and the laws of
            the U.S. Virgin Islands.

                    In witness whereof, the undersigned Directors of the Company have executed this consent
            as of the date first above written.

                                                                      Board of Directors:



                                                                      _______________________________
                                                                      Paul Halpern



                                                                      _______________________________
                                                                      Steven A. Rossum



                                                                      _______________________________
                                                                      Joseph K. Winrich




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                                                             CERTIFICATE

                    The undersigned, Jennifer Wirth, the duly constituted Secretary of the Company, does
            hereby certify that the foregoing is a true and correct copy of resolutions duly adopted by written
            consent of the Board of Directors of the Company taken as of December 29, 2024, in accordance
            with the Bylaws of the Company and the laws of the U.S. Virgin Islands, and that said resolutions
            are in full force and effect.


                                                                      _______________________________
                                                                      Jennifer Wirth
                                                                      Secretary

                                                                      Seaborne Virgin Islands, Inc.




                                                                                                      SGR/72255548.1
